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                                Communications and Public
                                Liaison & Office of the Chief
                                     Information Officer
                                        Social Media Policy
                                             Version 5.0




December 2012
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                                  REVISION HISTORY
Release No.          Date                                 Revision Description
V1.0          January 12, 2011    Initial Issue
V2.0          May 1, 2011         Revisions based on OGC comments
V3.0          January 4, 2012     Revision based on CPL edits
V4.0          August 21, 2012     Final Revision based on CPL and OGC edits
V5.0          November 29, 2012   Final Revision based on CPL, CIO and OGC final edits to section 4.0 of
                                  this policy




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The term Social Media refers to the use of web-based and mobile technologies to turn communication into an
interactive dialogue.
Enabled by ubiquitously accessible and scalable communication techniques, social media substantially changes
the way of communication between agencies, organizations, communities, as well as individuals.

Introduction

Whether or not you participate in social media, it is the policy of The Office of Personnel Management (OPM)
that all employees who participate in online commentary understand and follow the policy and guidelines
below. These guidelines cover all social media platforms including but not limited to:

      Social Networking Sites (Facebook, Google+, Linkedin, etc.)
      Micro-blogging sites (Twitter, Tumblr, Fliptr, etc.)
      Blogs (including OPM official business and personal blogs, as well as comments)
      Video and Photo Sharing Websites (Flickr, YouTube, SmugMug, Snapfish, etc.)
      Forums and Discussion Boards (Google Groups, Yahoo! Groups)
      XML & RSS Feeds
      Ideation Programs (IdeaScale, IdeaFactory, etc.)
      Online Information Repositories/Encyclopedias (Wikipedia, MAX, etc.)
      Emerging/new technology identified as social media by GSA's HowTo.gov website to help government
       workers deliver a better customer experience to citizens.

1.0 SCOPE

Federal agencies, in response to public demand, are making greater use of social media in order to enhance
engagement with the public. OPM encourages the use of social media to improve transparency, collaboration,
and participation in support of the agency’s mission. This document establishes policy for use of social media
by employees on behalf of the Agency.
Strong new-media policies and guidance are necessary to actively and effectively engage social networks. The
policy also allows employees, contractors, and employees of contractors performing work for OPM
(hereinafter referred to as “agency users”) to understand what is and is not appropriate. This policy is also
designed to assure that agency users understand how to properly use and protect government equipment and
to ensure that the activities conducted are appropriate. OPM will not tolerate misuse of Government
equipment/resources or misrepresentation of agency policy, procedures, and guidance while using social
media.
This Policy applies agencywide. All agency users are expected to comply with these policies and procedures.
The two levels of social media engagement include:

   1) Official Use - social media engagement on behalf of the Agency on sites where OPM has an official
      Web presence; and,
   2) Personal Use - day-to-day use of social media sites by agency users, not related to official duties.
      Agency users must be mindful that in their personal participation in social media sites, they must not
      hold themselves out as presenting the official position of OPM, except with the express permission of
      the Office of Communications and Public Liaison (CPL). Further, Agency users must comply with the
      Policy on Personal Use of Government Office Equipment and other applicable policies and procedures.
      Finally, agency users must be aware that misconduct committed on a social media site may result in
      appropriate discipline.
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2.0 POLICY

It is OPM’s policy to use social media where appropriate in order to meet its mission of recruiting, retaining,
and honoring a world-class workforce to serve the American people. Agency program offices must obtain
review and approval from CPL and the Chief Information Officer (CIO) before implementing any social media
site on behalf of OPM.

OPM will comply with all applicable Federal laws, rules and regulations.


Official Use

OPM will use only third-party sites that have been approved for Agency use, and such use must be in
accordance with approved Terms of Service (TOS) agreements. A listing of all TOS agreements in place will be
available on www.opm.gov.OPM personnel are permitted to access and contribute content on social media
sites in their official capacity. However, personnel should obtain supervisory approval prior to creating or
contributing significant content to external social media sites or to engaging in recurring exchanges with the
public. Employees are subject to the applicable Standards of Conduct for Employees of the Executive
Branch (5 C.F.R. Part 2635) and the Hatch Act (5 U.S.C. 7321-7326) which governs partisan political activity of
Executive Branch employees. Personnel are encouraged to review the Office of Special Counsel's "Frequently
Asked Questions Regarding Social Media and the Hatch Act" (link to the policy) for further guidance or contact
the Office of the General Counsel.
Non-public or sensitive information, Personally Identifiable Information (PII), and classified information shall
not be disclosed on public social media platforms.

Personal Use
Personal use of social media while on government time is subject to OPM’s personal use policy [insert official
name and where to obtain], which provides guidance on "appropriate and inappropriate" use of Government
resources.

When using social media tools and third-party sites, whether on behalf of OPM or on their own time,
employees are bound by the Standards of Ethical Conduct for Employees of the Executive Branch, 5 C.F.R. Part
2635.

3.0 ROLES AND RESPONSIBILITIES
The CIO and CPL are jointly responsible for ensuring that agency use of social media sites complies with
Federal laws, policies, and best practices. They will also monitor compliance with this policy.

CPL collaborates with program offices to assure that information and content dissemination via social media
complies with current agency messaging and strategic communication goals.

CIO applies the requirements of this policy in its functions of providing appropriate Agency-wide web
technology services and security, policy, guidance and technical assistance to program offices. CIO develops
policy and procedures for social media use in consultation with CPL.

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Web Points of Contacts have been designated by each Associate Director or Office Head to serve as the
primary point of accountability for the effective oversight, coordination, and management of information
within their respective organizations. As an ancillary duty, this person(s) should be designated as the social
media representative responsible for ensuring that his or her program office complies with this Social Media
Policy and any additional procedures and supporting documents. Alternatively, a different individual may be
assigned this task. As both of these key POC positions within the program office will be the first point of
contact on social media and other web activities, it is imperative they coordinate closely. Online training will
be provided for the Web POCs. Additionally, an internal OPM Web Council, consisting of all Web POC’s will
meet on a monthly basis to share best practices and to coordinate efforts. This Council will be deployed in the
event of a communications crisis that requires a “war room” type response team.

Program Offices who choose to engage in social media will be required to assure agency users acting on their
behalf comply with this policy.

Office of General Counsel (OGC) provides legal guidance relating to the Web, reviews and approves terms of
service agreements, oversees ethics requirements for OPM employees and periodically monitors agencywide
social media activities for legal implications.


4.0 POLICIES REGARDING USE OF SOCIAL MEDIA
Third Party Social Media

The following disclaimer language will be posted on OPM’s web page as well as any third-party social media
tool/site used by the agency:

“Your activity on third-party websites is governed by the security and privacy policies of the third-party sites.
You may wish to review the privacy policies of the sites before using them in order to understand how the
information you make available on those sites will be used. OPM does not control, modify, or endorse
comments or opinions provided by visitors to this site. In addition, OPM does not collect, maintain, or
disseminate information posted. Visit www.opm.gov for information on how to send official correspondence
to OPM. Any official policy, regulation or other information will be published on www.opm.gov, whether or
not it is simultaneously posted on third party social media sites. Only the version published on an official OPM
website may be considered official. Use of these social media sites by ‘liking’, ‘friending’, ‘following’ and/or
other means of connecting with sites, pages, or people, by OPM does not constitute endorsement.”


Agency Blogs, Forums, and Discussion Boards


The following terms of use and disclaimer language must be posted on all OPM blogs, forums, or discussion
boards:


“OPM welcomes comments and questions from the public. We respect the principle that people are entitled
to different opinions and hope to foster conversation within our online presence. To that end, we do not pre-
moderate users' comments on our website or social media pages. This means that users' comments are
automatically published, but they may be removed by an OPM official if the comment:

      Contains obscene, indecent, or profane language;
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      Contains threats, defamatory statements, or personal attacks;
      Encourages illegal activity;
      Contains hate speech directed at race, color, sex, sexual orientation, gender identity, national origin,
       ethnicity, age, religion, or disability;
      Contains sensitive or personally identifiable information; and/or
      Promotes or endorses specific commercial services or products.

In addition, OPM may remove content, including comments, that has become stale. We also reserve the right
to remove multiple successive off-topic posts by a single user, repetitive posts copied and pasted by multiple
users, spam, or chain mail.

Note that the views expressed on this page, the appearance of external links posted by individuals on this
page, and following, liking, or reposting of posts or tweets does not constitute official endorsement on behalf
of the Office of Personnel Management or the Federal Government. OPM is not liable for any loss or damage
resulting from any comments posted on this page. This forum may not be used for the submission of any
claim, demand, complaint, legal and/or administrative notice or process, or for the exhaustion of any legal
and/or administrative remedy.”

5.0 EFFECTIVE DATE
This policy is effective December 1, 2012.




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                             United States
                   Office of Personnel Management
                      Communications and Public Liaison
                      Office of the Chief Information Officer
                                1900 E Street, NW
                             Washington, DC 20415
